O AO 120 (Rev. 3/04)

                             Mail Stop 8                                                   REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                         FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                          ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                               TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
           filed in the U.S. District Court              Delaware               on the following      X    Patents or            Trademarks:
DOCKET NO.                      DATE FILED                      U.S. DISTRICT COURT
     15cv1050-RGA                       11/13/2015                                        DISTRICT OF DELAWARE
PLAINTIFF                                                                DEFENDANT

 Novartis Pharmaceuticals Corporation                                     Par Pharamceutical, Inc.



        PATENT OR                     DATE OF PATENT
                                                                                   HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                   OR TRADEMARK
                                          5/7/2013
1            8,436,010                                                                Novartis Pharmaceuticals Corporation

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                   In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                   INCLUDED BY
                                                     G   Amendment         G   Answer         G    Cross Bill           G   Other Pleading
        PATENT OR                     DATE OF PATENT
                                                                                   HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                   OR TRADEMARK
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                   In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


 See attached Order



CLERK                                                    (BY) DEPUTY CLERK                                              DATE
       JOHN A. CERINO, CLERK OF COURT                                                                                   1/9/2018


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
